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5
     Attorney for Defendant
6    Benjamin Macias
7

8                                UNITED STATES DISTRICT COURT

9                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                    )   Case No. Cr.S-15-125-GEB
11   UNITED STATE OF AMERICA,                       )
                                                    )
12                  Plaintiff,                      )   MOTION TO ALLOW TRANSCRIPTON
                                                    )   OF BOTH IN CAMERA AND PUBLIC
13          vs.                                     )   HEARINGS OF JUNE 16, 2017
                                                    )
14   BENJAMIN MACIAS,                               )
                                                    )
15                  Defendant                       )
                                                    )
16                                                  )
                                                    )
17                                                  )
                                                    )
18

19          I, Jan David Karowsky, do hereby declare under penalty of perjury:

20          Defendant, Benjamin Macias moves the Court to allow the transcription of both the in
21
     camera and the public hearing conducted before The Honorable Garland E. Burrell, Jr. on June
22
     16, 2017, in the instant case, docket number 74.
23
            At these hearings, the Court ultimately allowed the withdrawal of Mr. Macias’s previous
24
     attorney and, I am informed, Mr. Macias, personally addressed the Court at the in camera
25
     hearing. Current counsel for Mr. Macias was appointed subsequent to these hearings.



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            Based on information provided to me by Mr. Macias, I believe it necessary for me to
1
     know what was said at both the in camera and public hearings on June 16, 2017, in order to
2

3
     provide effective assistance of counsel to Mr. Macias.

4           Therefore, the Court is requested to issue an Order directing the court reporter to

5    transcribe both the in camera and the public portion of the hearings conducted on June 16, 2017,

6    docket number 74 and to provide a copy only to me. I have attached a “Transcript Order,”
7    CAED Form 435, in addition to the requested Order, below.
8
            Based on conversations I have had with Mr. Macias, I do not believe it would be
9
     appropriate or necessary for the prosecution to have access to what was said by Mr. Macias to
10
     the Court in the in camera hearing.
11
            I declare under penalty of perjury and the preceding is true and correct. Executed on
12
     January 24, 2018 at Sacramento County, California.
13

14
                                   /s/ Jan Karowsky
15

16

17
     DATED:                                                 Respectfully submitted,
18                                                          JAN DAVID KAROWSKY
                                                            Attorney at Law
19                                                          A Professional Corporation

20                                                          /s/ Jan David Karowsky

21                                                by
                                                            JAN DAVID KAROWSKY
22                                                          Attorney for Defendant
                                                            Benjamin Macias
23

24

25




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7                               UNITED STATES DISTRICT COURT

8              IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
                                    )   Case No. Cr.S-15-125-GEB
9    UNITED STATE OF AMERICA,       )
                                    )
10             Plaintiff,           )   COURT ORDER AUTHORIZING
                                    )   TRANSCRIPTON OF BOTH THE IN
11        vs.                       )   CAMERA AND THE PUBLIC
                                    )   HEARING OF JUNE 16, 2017
12   BENJAMIN MACIAS,               )
                                    )
13             Defendant            )
                                    )
14                                  )
                                    )
15                                  )
                                    )
16

17          The Court Reporter shall transcribe both the in camera and the public portion of the

18   hearings conducted in the above-captioned case, on June 16, 2017, docket number 74, and
19
     provide one copy to Jan David Karowsky, attorney for defendant Benjamin Macias.
20
     Dated: January 25, 2018
21

22

23

24

25




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